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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF CONNECTICUT


 COUNCIL ON AMERICAN-ISLAMIC
 RELATIONS – CONNECTICUT and MAKE
 THE ROAD NEW YORK,

                    Plaintiffs,                      Civil Action No.
                                                     3:17-cv-1061-RMS
                        v.

 U.S. CITIZENSHIP AND IMMIGRATION
 SERVICES, U.S. CUSTOMS AND BORDER
 PROTECTION, and U.S. DEPARTMENT OF
 STATE,

                   Defendants.


       PLEASE TAKE NOTICE that Plaintiffs Council on American-Islamic Relations –

Connecticut and Make The Road New York respectfully move under Federal Rule of Civil

Procedure 56(a) and Local Rule 56(a) for an Order granting summary judgment to Plaintiffs on

all counts of their Complaint (ECF No. 1), denying summary judgment to Defendants, and

granting such further relief as the Court may deem just and proper.

       In support thereof, Plaintiffs submit: a Memorandum of Law, in which Plaintiffs also

oppose Defendants’ motion for summary judgment (ECF No. 216); the Declaration of Adam

Bates, dated February 13, 2023, and exhibits thereto; the Declaration of Christopher Opila, dated

February 13, 2023, and exhibits thereto; Plaintiffs’ Local Rule 56(a)(1) Statement of Undisputed

Facts; and Plaintiffs’ Local Rule 56(a)(2) Statement of Facts in Opposition to Summary

Judgment. Plaintiffs also submit a Proposed Order.



Dated: February 13, 2023
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Respectfully submitted,



 /s/   Linda B. Evarts                              /s/ Muneer I. Ahmad
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 Counsel for Plaintiffs
